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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                      (Miami Division)

In re:                                                 Chapter 13

GERALDO ARIAS                                          Case No. 19-26046 - AJC

      Debtor.
_________________________________/


         NOTICE OF APPEARANCE AND REQUEST TO RECEIVE DOCUMENTS

         Notice is hereby given of the appearance of KEVIN G. PETERS, ESQ., and PETERS &

PETERS, ATTORNEYS AT LAW, P.A., as counsel on behalf of creditor, TOWNHOUSES AT

JACARANDA CONDOMINIUM ASSOCIATION, INC. Request is hereby made for counsel’s

name to be added to the matrix as:

                               KEVIN G. PETERS, ESQ.
                               PETERS & PETERS, ATTORNEYS AT LAW, P.A.
                               Attorneys for Creditor
                               Townhouses at Jacaranda Condominium Association, Inc.
                               9900 Stirling Road, Suite 104
                               Cooper City, Florida 33024

and that it be served with copies of all pleadings, orders and other documentation filed in this cause.

         Respectfully submitted this 2nd day of January, 2020.

                                       PETERS & PETERS, ATTORNEYS AT LAW P.A.
                                       Attorneys for Creditor
                                       Townhouses at Jacaranda Condominium Association, Inc.
                                       9900 Stirling Road, Suite 104
                                       Cooper City, Florida 33024
                                       Telephone: 954/364-6284
                                       Facsimile: 954/206-0260
                                       E-mail: kevin@petersandpeterspa.com

                                       By:              /s/      .
                                             KEVIN G. PETERS, ESQ.
                                             Fla. Bar No. 83612
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                                   CERTIFICATE OF SERVICE

I certify that a true copy of this Notice of Appearance was served this 02 day of January, 2020, as

follows:

The following persons/entities were noticed via NEF:

Robin R. Wiener, Trustee
Michael A. Frank, Esq.


The following persons/entities were noticed via U.S. mail:

Gerardo Arias
1601 NE 176 St
Miami, FL 33162

                                               PETERS & PETERS, ATTORNEYS AT LAW P.A.
                                               Attorneys for Townhouses at Jacaranda
                                                              Condominium Association, Inc.
                                               9900 Stirling Road, Suite 104
                                               Cooper City, Florida 33024
                                               Telephone: 954/364-6284
                                               Facsimile: 954/206-0260
                                               E-mail: kevin@petersandpeterspa.com

                                               By:              /s/      .
                                                     KEVIN G. PETERS, ESQ.
                                                     Fla. Bar No. 83612
